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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.0.3
                                Eastern Division

ABC Business Forms, Inc.
                                      Plaintiff,
v.                                                       Case No.: 1:12−cv−03768
                                                         Honorable John W. Darrah
Duvera Financial, LLC, et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, December 10, 2012:


       MINUTE entry before Honorable John W. Darrah: A notice of voluntary dismissal
having been filed, this case is hereby closed. Civil case terminated. Any pending dates or
motions are moot. Mailed notice(maf)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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